                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 MICHAEL OKOSI,

                        Plaintiff,

 v.                                                   Civil Action No. 1:21-cv-11884-IT

 SCOTT ROBY

                        Defendant.


                         LOCAL RULE 16.1 (d)(3) CERTIFICATION

       Pursuant to Local Rule 16.1(d)(3), the Plaintiff Michael Okosi and their counsel hereby

certify and affirm that Plaintiffs and their counsel have conferred:

       (A) with a view to establishing a budget for the costs of conducting the full course and

various alternative courses--of the litigation; and

       (B) to consider the resolution of the litigation through the use of alternative dispute

resolution programs such as those outlined in L.R. 16.4.

       Signed under the penalties of perjury on this February 9, 2022.




 PLAINTIFF                                            PLAINTIFF’S COUNSEL

                                                      /s/ Alycia M. Kennedy_______
 /s/ Michael Okosi_______________                     Alycia M. Kennedy (BBO# 688801)
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                                                    forthcoming)
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Dated: February 9, 2022



                                CERTIFICATE OF SERVICE

        I, Alycia M. Kennedy, hereby certify that this document has been filed through the ECF
system, will be sent electronically to the registered participants as identified on the notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on this date.


                                                      /s/ Alycia M. Kennedy___
                                                      Alycia M. Kennedy



Dated: February 9, 2022




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